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                                                                      cK \\ - 'lo l^fO /x nr,r
                        LINITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA

UNITED STATES OF AMERICA,                             )   TNDICTMENT
                                                      )
                     Plaintiff.                       )   18 U.S.C. $ 2
                                                      )   18 U.S.C. $ e2a(cXlXAXiD
              v.                                      )   18 u.S.c. $ e24(dx1)
                                                      )   18 u.S.c. $ 211e(1)
 1.   JEREMIAH LEE IRONROPE,                          )   2I U.S.C. $ 2461(c)
                                                      )
2, KRI SANNE MAzuE BENJAMIN,                          )
                                                      )
                     Defendants.                      )
                                                      )

       TIIE UNITED STATES GRAND JURY CHARGES TIIAT:

                                        COUNT    1.

                                       (Carjacking)

       On or about JuIy 26,2020, in the State and District of Minnesota, the defendants,

                          JEREMIAII LEE IRONROPE, and
                          KRISAIINE MARIE BENJAMIN,

each aiding and abetting, and being aided and abetted by, each other and others known add

unknown to the grandjury, did knowingly and unlawfully take a motor vehicle, that is, a

black 2008 Lexus ES350, bearing Minnesota license plate DCH-278, and vehic[e

identification number JTIIBJ46GI82250962, that had been transported, shipped, a4d

received in interstate and foreign commerce, from the person and presence of S.M., $J

force and violence and by intimidation, with the intent to cause serious bodily harm, all   hn



violation of Title 18" United States Code, Sections 2 and2Ll9(L).




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                                               COUNT 2
                                              (Carjacking)

        On or about August 7,2020, in the State and District of Minnesota, the defendant$,

                                 JEREMIAII LEE IROIIROPE, and
                                 KRISANNE MARIE BENJAMIN,

each aiding and abetting, and being aided and abetted by, each other and others known and

unknown to the grand jury, did knowingly and unlawfully take a motor vehicle, that is, a

2018 Chevrolet Tahoe, bearing Minnesota license plate CBX-405, and vehicle

identification number 1GNSKAKC9JR381772, that had been transported, shipped, and

received in interstate and foreign commerce, from the person and presence of R.W.G., by

force and violence and by intimidation, with the intent to cause serious bodily harm, all in

violation of Title 18, United States Code, Sections 2 and21l9(I).

                                               COUNT 3
                                              (Carjacking)

        On or about August 28,2020, in the State and District of Minnesota, the defendants,

                                JEREMIAII LEE IRONROPE, and
                                KRISANNE MARIE BENJAMIN,

each aiding and abetting, and being aided and abetted by, each other and others known and

unknown to the grand jury, did knowingly and unlawfully take a motor vehicle, that is,     a

2017 Audi A4, bearing Minnesota license plate DRU-488, and vehicle identification

number WAUANAF46HN007598, that had been transported, shipped, ffid received in

interstate and foreign commerce, from the person and presence of A.M., by force and

violence and by intimidation, with the intent to cause serious bodily harm, all in violation

of Title 18, United States Code, Sections 2 and2Ilg(1).
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                                            COUNT 4
                            (Using, Carryrng, and Brandishing a Firearm
                           During and in Relation to a Crime of Violence)

         On or about August 28,2020, in the State and District of Minnesota, the defendant,

                                    JEREMIAH LEE IROI\ROPE.

during and in relation to a crime of violence for which he may be prosecuted in a court            of

the United States, that is, the crime set forth in Count 3 ofthis Indictment, which is hereby

realleged and incorporated herein by reference, did knowingly and unlawfully use, carry

and brandish a firearm, all in violation of        Title 18, United   States Code, Sections   2   and

e2a(cX1XA)(ii).

                                               COUNT     5
                                               (Carjacking)

        On or about December 20, 2020, in the State and District of Minnesota, the

defendant,

                                    JEREMIAII LEE IROIIROPE,

did knowingly and unlawfully take a motor vehicle, that is, a silver 2015 GMC Terrain,

bearing Minnesota license plate CNR-424, and vehicle identification number VIN

2GKFLRE34F6345397,that had been transported, shipped, and received in interstate and

foreign commerce, from the person and presence of J.D.S., by force and violence and by

intimidation, withthe intentto cause serious bodily harm, all inviolation ofTitle 18, United

States Code, Sections       2 artd2llg(l).

                                   FORFEITURE ALLEGATIONS

        If convicted of any of Counts 1 through 5 ofthis Indictment, the defendants,
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                                  JEREMIAH LEE IROI\ROPE, and
                                   KRISANNE MARIE BENJAMIN

shall forfeit to the United States, pursuant to Title 18, United States Code, Section

924(d)(I), and Title 28, United States Code, Section 2461(c), any firearms, accessories,

and ammunition involved in or used in connection with the violations alleged in any   of
Counts 1 through 5 of this Indictment, including, but not limited to, a Remington 870 12

gauge shotgun, with a sawed-offbarrel, serial number W893573.

                                               A TRUE BILL



ACTING I-INITED STATES ATTORNEY                        FOREPERSON




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